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                             13   and Debtors in Possession
 New York, NY 10153-0119




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                                                              UNITED STATES BANKRUPTCY COURT
                                                              NORTHERN DISTRICT OF CALIFORNIA
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                                                                   SAN FRANCISCO DIVISION
                             16
                                                                                    Case No. 19-30088 (DM)
                             17
                                   In re:                                           Chapter 11
                             18
                                   PG&E CORPORATION,                                (Lead Case)
                             19
                                            - and -                                 (Jointly Administered)
                             20
                                   PACIFIC GAS AND ELECTRIC                         NOTICE OF FILING OF FOURTH
                             21    COMPANY,                                         SUPPLEMENT TO PLAN SUPPLEMENT
                                                                                    IN CONNECTION WITH DEBTORS’ AND
                             22                                   Debtors.          SHAREHOLDER PROPONENTS’ JOINT
                                                                                    CHAPTER 11 PLAN OF
                             23     Affects PG&E Corporation                       REORGANIZATION
                                    Affects Pacific Gas and Electric Company
                             24     Affects both Debtors                           [Relates to Dkt. No. 7037, 7503, 7563, 7712]
                             25    * All papers shall be filed in the Lead Case,
                                   No. 19-30088 (DM).
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                                         PLEASE TAKE NOTICE that, on September 9, 2019, PG&E Corporation (“PG&E Corp.”)
                              1   and Pacific Gas and Electric Company (the “Utility”), as debtors and debtors in possession (collectively,
                              2   the “Debtors”) in the above-captioned chapter 11 cases, filed the Debtors’ Joint Chapter 11 Plan of
                                  Reorganization [Dkt. No. 3841], which was thereafter amended, modified, or supplemented on
                              3   September 23, 2019 and November 4, 2019 [Dkt. Nos. 3966 and 4563, respectively].

                              4           PLEASE TAKE FURTHER NOTICE that, on December 12, 2019, the Debtors filed the
                                  Debtors’ and Shareholder Proponents’ Joint Chapter 11 Plan of Reorganization Dated December 12,
                              5
                                  2019 [Dkt. No. 5101], which was thereafter amended, modified, or supplemented on January 31, 2020,
                              6   February 7, 2020, March 9, 2020, March 16, 2020, and May 22, 2020 [Dkt. Nos. 5590, 5700, 6217,
                                  6320, and 7521 respectively] (and as may be further amended, modified, or supplemented and together
                              7   with all exhibits and schedules thereto, the “Plan”).

                              8           PLEASE TAKE FURTHER NOTICE that, on May 1, 2020, the Debtors filed the Notice of
                                  Filing of Plan Supplement in Connection with Debtors’ and Shareholder Proponents’ Joint Chapter 11
                              9
                                  Plan of Reorganization Dated March 16, 2020 [Dkt. No. 7037] (as supplemented on May 22, 2020 [Dkt.
                             10   No. 7503], May 24, 2020 [Dkt. No. 7563], and June 2, 2020 [Dkt. No. 7712], and as may be further
                                  amended, modified, or supplemented, the “Plan Supplement”).
                             11

                             12   This Fourth Supplement to the Plan Supplement contains the following document:
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                             13          ● Exhibit A – Second Amendment to Schedule of Executory Contracts and Unexpired Leases
 New York, NY 10153-0119




                                                   to be Assumed Pursuant to the Plan and Proposed Cure Amounts (the “Schedule of
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                                                   Assumed Contracts”)
                             15
                                          PLEASE TAKE FURTHER NOTICE that the Schedule of Assumed Contracts has been
                             16   amended to, among other things, (i) add or delete certain agreements from the Schedule of Assumed
                                  Contracts (including, without limitation, to remove certain contracts that have expired, terminated, or
                             17   have otherwise been identified as non-executory and not subject to assumption), (ii) revise potential Cure
                                  Amounts with respect to certain agreements identified for assumption pursuant to the Plan, and (iii)
                             18   provide additional information with respect to the descriptions of certain agreements referred to in the
                             19   Schedule of Assumed Contracts. Pursuant to Section 8.1 of the Plan, the exclusion of any contract or
                                  lease from the Schedule of Assumed Contracts shall not constitute a rejection of such contract or
                             20   unexpired lease. The notice, global notes, and disclaimers that accompanied the Schedule of Assumed
                                  Contracts are incorporated herein by reference and apply with equal force with respect to all the
                             21   agreements set forth in the Second Amendment.
                             22          PLEASE TAKE FURTHER NOTICE that the Plan Supplement documents attached hereto
                             23   remain subject to (i) further review, negotiations, and modifications, and (ii) final documentation in a
                                  manner consistent with the Plan, the Subrogation Claims RSA, the Tort Claimants RSA, the Noteholder
                             24   RSA, the Backstop Commitment Letters, and the other Plan Documents, as applicable.

                             25          PLEASE TAKE FURTHER NOTICE that the Debtors and Shareholder Proponents reserve
                                  the right to amend the documents contained in the Plan Supplement before the Effective Date in
                             26   accordance with the terms of the Plan, the Subrogation Claims RSA, the Tort Claimants RSA, the
                             27   Noteholder RSA, the Backstop Commitment Letters, and the other Plan Documents, as applicable.

                             28           PLEASE TAKE FURTHER NOTICE that copies of the pleadings and other documents
                                  identified herein can be viewed and/or obtained: (i) by accessing the Bankruptcy Court’s website at

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                                  http://www.canb.uscourts.gov, (ii) by contacting the Office of the Clerk of the Court at 450 Golden Gate
                              1   Avenue, San Francisco, CA 94102, or (iii) from the Debtors’ notice and claims agent, Prime Clerk LLC,
                              2   at https://restructuring.primeclerk.com/pge or by calling (844) 339-4217 (toll free) for U.S.-based
                                  parties; or +1 (929) 333-8977 for International parties or by e-mail at: pgeinfo@primeclerk.com. Note
                              3   that a PACER password is needed to access documents on the Bankruptcy Court’s website.

                              4   Dated: June 5, 2020
                                                                       WEIL, GOTSHAL & MANGES LLP
                              5                                        KELLER BENVENUTTI KIM LLP
                              6
                                                                       /s/ Thomas B. Rupp_________
                              7                                        Thomas B. Rupp

                              8                                        Attorneys for Debtors and Debtors in Possession

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